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                                  KEVIN WISE


      UNITED STATES DISTRICT COURT
      WESTERN DISTRICT OF NEW YORK
      ----------------------------------------
      CHRISTIAN POWELL,

                                      Plaintiff,

                             - vs -       Index Number
                                          21-CV-00721

      CITY OF JAMESTOWN,
      CITY OF JAMESTOWN CLERK,
      JAMESTOWN POLICE DEPARTMENT,
      JAMESTOWN POLICE CHIEF TIMOTHY JACKSON,
      COUNTY OF CHAUTAUQUA,
      CHAUTAUQUA COUNTY SHERRIFF'S OFFICE,
      CHAUTAUQUA COUNTY SHERRIFF JAMES B. QUATTRONE,
      CHAUTAUQUA COUNTY UNDERSHERRIFF DARRYL W. BRALEY,
      JOHN DOES 1-10, said names being fictitious
      but intended to be any other individual/officers
      involved in the within incident and employees
      of the CITY OF JAMESTOWN and/or JAMESTOWN POLICE
      DEPARTMENT in their individual and official
      capacities,
      and JOHN DOES 1-10, said names being fictitious
      but intended to be any other individual/officers
      involved in the within incident and employees
      of the COUNTY OF CHAUTAUQUA and/or CHAUTAUQUA
      COUNTY SHERRIFF'S OFFICE in their individual and
      official capacities,

                             Defendants.
      ----------------------------------------
                Examination Before Trial of KEVIN WISE,

      taken pursuant to Federal Rules, via virtual

      teleconference, on August 16, 2023, commencing at

      12:33 p.m., before PATRICK MCLAUGHLIN, Notary

      Public.


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  1   APPEARANCES:           SHAW & SHAW, P.C.
                             BY BLAKE ZACCAGNINO, ESQ.
  2                          4819 South Park Avenue
                             Hamburg, New York 14075
  3                          Appearing for the Plaintiff.

  4                          CORPORATION COUNSEL
                             CITY OF JAMESTOWN
  5                          BY ELLIOT S. RAIMONDO, ESQ.
                             200 East Third Street
  6                          Jamestown, New York 14701
                             Appearing for the City of Jamestown
  7                          and affiliated Defendants.

  8                          HANCOCK ESTABROCK LLP
                             BY MARY L. D'AGOSTINO, ESQ.
  9                          100 AXA Tower
                             100 Madison Street
 10                          Syracuse, New York 13202
                             Appearing for the City of Jamestown
 11                          and affiliated Defendants.

 12

 13

 14

 15             (STIPULATIONS:        Waive filing of

 16             the transcript, waive Oath of the Referee,

 17             reserve all objections until trial, with

 18             exception of objections as to form.)

 19

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  8                                 *****

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  1             MR. RAIMONDO:       Yes.     The witness is Officer

  2   Kevin, K-E-V-I-N, Wise, W-I-S-E.

  3             THE REPORTER:       Any objection to the remote

  4   notarization?

  5             MR. ZACCAGNINO:       No.

  6             MR. RAIMONDO:       None from the city.

  7             MS. D'AGOSTINO:       Reserve read and sign, yes,

  8   please.

  9

 10   K E V I N      W I S E, 201 East Second Street,

 11   Jamestown, New York 14701, after being duly called

 12   and sworn, testified as follows:

 13

 14             EXAMINATION BY MR. ZACCAGNINO:

 15

 16             Q.    Hi, Officer.         I am Blake Zaccagnino.               I

 17   represent Christian Powell.              He was involved in a

 18   few different incidents that took place back in

 19   December of 2020 involving the Jamestown police.

 20             The first thing I wanted to ask you was:

 21   What do you prefer I call you?              Officer?       Is that

 22   okay or is there anything else?

 23             A.    Yeah.     That's fine.


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  1             Q.   Okay.     Before we get started, I just

  2   want to go over some quick rules.              You know, the

  3   main thing is I just want to make sure you

  4   understand my questions because sometimes I'm

  5   confusing or I -- you know, I'll get ahead of

  6   myself.

  7             So just let me know if -- you know, if you

  8   don't understand what I'm asking you.                And then

  9   it's -- it's really hard on Zoom because there's a

 10   slight delay.

 11             So if we could just do our best to have one

 12   person talking at a time, that would be great.

 13             A.   Okay.

 14             Q.   Is that okay?       Perfect.

 15             I have -- I have a bunch of questions for

 16   you at the beginning about your education and your

 17   background and training.

 18             So you know, I can refer you to those -- I

 19   can refer you to the time frames that I'm

 20   interested in for that part of it, but if I ask you

 21   about, you know, a policy and procedure or, you

 22   know, how things were at a particular time, I'm

 23   mainly interested in how things were in December of


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  1   2020, if that's okay.

  2             A.      Okay.

  3             Q.      So I was wondering if you could just

  4   briefly take us through your education and

  5   training, maybe from high school until now.                     Just

  6   the high points.          It doesn't have to be anything

  7   extensive.

  8             A.      Okay.     I graduated from Faulkner High

  9   School.        From there, I went -- I got my associate's

 10   degree at Jamestown Community College, and then I

 11   got my bachelor's degree out at SUNY Fredonia.

 12             After that, I went into the Chautauqua

 13   Sheriff's Academy in 2016 and graduated in 2017.

 14             Q.      And what jobs have you had, maybe from

 15   the time that you got out of the academy until now?

 16             A.      Out of the academy, I got hired at the

 17   Town of Ellicott Police Department as a police

 18   officer.        I worked there until September of 2018,

 19   when I got hired at Jamestown Police Department as

 20   a police officer, and that's where I've been since.

 21             Q.      And -- oh.      So you've -- you've been at

 22   Jamestown ever since?

 23             A.      Correct.


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  1            Q.    Can you just briefly take us through

  2   your day-to-day activities within the different

  3   jobs as a police officer that you've had?

  4            A.    So we patrol.        We work the -- we work

  5   the city jail.         We help out with community-service

  6   details, traffic, traffic control.

  7            Q.    And back in December of 2020, what was

  8   your -- what was your official position with the

  9   City of Jamestown?         Like, what was the job title?

 10            A.    Police officer.

 11            Q.    And what was your day-to-day activities

 12   with Jamestown?         Were you mainly on patrol or were

 13   you in the jail setting or a combination of both?

 14            A.    Yeah.      Primarily, we're on patrol, but

 15   we have a rotation where whoever hasn't worked the

 16   jail in the longest period of time, they would be

 17   the first one up to work the jail.               So it's, like,

 18   once every week or two that we work a jail shift.

 19            Q.    And what's involved in the working the

 20   jail shift?      Like, what are the daily activities if

 21   you're assigned on the jail shift?

 22            A.    Well, first, you would -- you would

 23   check -- check the jail at the beginning of the


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  1   shift to make sure there's no contraband, any

  2   weapons or anything, anything wrong with any of the

  3   cells.

  4            And your duty in there would be to, you

  5   know, watch -- watch over the -- the prisoners,

  6   make sure they're safe, healthy, that they don't

  7   need anything.

  8            We -- we would also have, like -- we'd

  9   perform checks every half hour and -- and complete

 10   bookings with finger and photos as well as

 11   obtaining property from inmates as they are coming

 12   into the jail.

 13            And then we have the suicide screenings

 14   and -- and constant-watch program where those

 15   type -- people that fall under those categories

 16   would be placed up front where we could observe

 17   them for the duration of the time they're in the

 18   jail so they can't harm themselves.

 19            Q.    And you mentioned the checks or the

 20   different rounds that you would do where you're

 21   checking in on inmates.         Can you describe that

 22   process at all or any sort of policy and procedure

 23   that's followed for that?


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  1            A.    So at least every half hour, you have

  2   to perform a check.        You have a fob with -- there's

  3   little fob -- fobs on the wall that we have to hit,

  4   make sure it beeps.

  5            And what you would do is you'd go to each

  6   wing where the prisoners are located, check on

  7   them, make sure that they're okay, they don't need

  8   anything.

  9            And then after you check, what you would do

 10   is you document what each inmate is currently doing

 11   so, that way, we can keep a log of it.

 12            Q.    And you mentioned the log.                Is that --

 13   is that a paper log or is it kept electronically?

 14            A.    It's a paper log.

 15            Q.    And it generally just would notate the

 16   time of the check and then what -- and then what

 17   the officer observed in the check?

 18            A.    Yeah.     It lists the time of the check,

 19   the location of the inmate, and then what their

 20   current status is; if they're sleeping, if they're

 21   awake, if they're reading, whatever they're doing.

 22            Q.    And you mentioned the suicide

 23   screening --


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   1           A.     Yes.

   2           Q.     -- and inmates that might fall into

   3   that category.

   4           Can you just describe what that is and what

   5   type of inmate would fall within that category?

   6           A.     So we have -- some inmates will come

   7   into the jail, and the officers that were on scene

   8   will advise the -- they'll advise the jailer if the

   9   inmate coming in has made any comments of self

  10   harm, harm to others, or shown any behavior that

  11   might reflect that.

  12           And if a person does, you know, display

  13   that, then the arresting officer can let the jailer

  14   know so that he can put that person on a constant

  15   watch so they're within his sight throughout the

  16   entire time that they're in the jail until

  17   arraignment.

  18           And the -- so anybody that would -- that

  19   would want to harm themselves or others would fall

  20   into that category, but we also have the suicide

  21   screening in the jail where we would -- we would go

  22   down through a list of questions and -- and ask.

  23           That way, we can determine if the person


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   1   falls under that category or not.

   2           Q.     Okay.     And this might sound silly, but

   3   what are -- but what's the purpose of an inmate

   4   that is -- falls within that category of having

   5   suicidal ideations or harming themselves?

   6           Like, what's the main reason why they're

   7   under constant observation, you know, just based on

   8   your training and experiences?

   9           A.     The reason we put them under a constant

  10   watch is so -- like, if we already have -- if we

  11   already have an idea that they have thoughts or

  12   behavior that show that they want to harm

  13   themselves or others, we want to be able to watch

  14   them the entire time to make sure they're not going

  15   to harm us, they're not going to harm other

  16   inmates, they're not going to harm themselves.

  17           That way, while they're in the jail, they're

  18   safe as well.

  19           Q.     And what sort of precautions does -- or

  20   have you taken or you observed taken at Jamestown

  21   regarding inmates that fall within that category of

  22   constant observation to prevent self harm?

  23           For example, like, a restraint chair, a


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   1   padded room, a helmet, is there -- can you talk to

   2   us about any sort of tools that Jamestown would

   3   have to use in that situation?

   4            MS. D'AGOSTINO:       Objection.       You can answer

   5   if you understand the question.

   6            THE WITNESS:      One of the -- so one of the

   7   tools that we do have is the -- is the restraint

   8   chair.    If somebody is in the jail and they are --

   9   if they're trying to harm themselves or if I'm

  10   completing a check and they're trying to harm me,

  11   that's when we would utilize -- we would utilize

  12   the restraint chair.

  13            If the person displays those types of

  14   behavior, unless they needed -- if they needed some

  15   sort of medical assistance in between, we wouldn't

  16   put them in the chair to get -- to get seen.

  17

  18            BY MR. ZACCAGNINO:

  19            Q.    And can you describe what the -- what

  20   the -- sorry -- what the restraint chair is and how

  21   it prevents people from harming either officers or

  22   themselves?

  23            A.    The restraint chair's a padded chair


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   1   with straps that's attached to the floor that it --

   2   it will -- it will hold their arms, legs,

   3   shoulders, waist down.

   4            That way, they can't -- they can't continue

   5   to perform these behaviors.

   6            Q.    And in what situations do you, you

   7   know, based on your training -- training and

   8   experiences or policy and procedure would someone

   9   be placed in the restraint chair?

  10            Like, what sort of -- what sort of

  11   observations would warrant that, I guess?

  12            A.    I mean, if they have -- typically, it's

  13   going to be if they have -- if they have a suicide

  14   attempt or they start harming themselves in the

  15   jail or, like I said, harming -- trying to harm us.

  16            Q.    And where are the -- the inmates that

  17   are under constant observation kept?

  18            Are they kept in certain areas of the jail

  19   or is it -- you know, can you describe that for us?

  20            A.    So we have three locations where we can

  21   keep -- well, four if you count the restraint

  22   chair, where we can keep people that are constant

  23   watch.


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   1           We're in the booking room, and we have a --

   2   a bench that's in with us that we attach handcuffs

   3   to and leg shackles.

   4           So we have the booking room where they could

   5   be kept.     We have the hall bench, which is within

   6   sight of us through the window; and the tank, which

   7   is also in sight through the window; and then the

   8   restraint chair.

   9           Q.     And in those different areas, can you

  10   describe how an inmate that's under constant watch

  11   is restrained?        Like, if they're handcuffed to

  12   something or if they're free to roam around in a

  13   cell, can you describe that for each location?

  14           A.     So in the tank -- the tank is the only

  15   spot where they would be free to roam around.

  16           The hall bench and the booking bench would

  17   have eye hooks where we can attach handcuffs or we

  18   can hook the leg restraints to the metal posts that

  19   go to the floor.

  20           So they would have -- on the hall bench or

  21   the booking bench, they would have at least one

  22   form, whether it be a handcuff or a leg shackle.

  23           Q.     And how is it determined where a


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   1   constant-observation inmate is kept?

   2           A.     That's up to the jailer at the time.

   3           Q.     Okay.     And is it up to the -- regarding

   4   what sort of supervision a person is getting, for

   5   example constant or non-constant or, you know,

   6   something different, is that a decision that's made

   7   by the officers that were on scene and interacting

   8   with the person that's in custody or is that a

   9   decision made by the jailer or somebody at the

  10   jail?

  11           A.     It's a combination of the -- the

  12   arresting officers that are on scene because they

  13   have the first contact with the person.

  14           So anybody at the jail is not going to know

  15   if this person, you know, made any suicidal

  16   comments, tried to harm themselves.               They're not

  17   going to have any of that information.

  18           So it's a combination of the arresting

  19   officer, the jailer based on -- because people are

  20   going to be in with others, other inmates, if they

  21   do something in front of him or he's going the same

  22   person that provides the suicide screening.

  23           So between the arresting officer's


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   1   observation, the suicide screening, any

   2   observations made by the jailer.              And then the

   3   shift commander also can make that decision.

   4           Q.     Can you tell us about any -- any

   5   training or experiences you've had regarding

   6   handling an inmate in a jail setting who is either,

   7   you know, like, thrashing or hitting their head off

   8   the wall or doing anything similar to that other

   9   than what we've talked about?

  10           A.     If somebody was hitting their head off

  11   the wall, typically, I would place them in the

  12   restraint chair at that time because that's our --

  13   that's our method in the jail to prevent them from

  14   any self-destructive behavior.

  15           Q.     Okay.     Okay.    And is -- is there any

  16   sort of process of re-evaluation of an inmate in

  17   whether or not they would go into a restraint chair

  18   based on their -- based on their behavior while

  19   they're in the jail?

  20           So for example, if they're -- maybe they

  21   were -- they were self harming at one point and

  22   then maybe they calmed down and they -- they got

  23   worse again, is there any sort of process of


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   1   re-evaluation that happens?

   2            A.    So like, on scene, if the person is

   3   doing things like that, but then they deescalate

   4   themselves or we're able to deescalate them on the

   5   way to the jail or while they're in the booking

   6   room, if they start to deescalate, we kind of come

   7   down with them.

   8            I'm not going to stick somebody in the chair

   9   that's just visibly upset or, you know, not -- not

  10   attempting to harm themselves or us at that time.

  11            But if the behavior begins again, then

  12   that's when I would place somebody in the restraint

  13   chair.    If we're in the jail and that behavior

  14   starts again, then we would do that.

  15            Q.    And have you had any experiences with

  16   inmates who -- who were on constant observation and

  17   who, you know, harm themselves at one point and

  18   then you're observing them and you're noticing that

  19   they're not -- you know, they haven't harmed

  20   themselves again but they're getting upset and

  21   agitated and you're kind of on alert to say, okay,

  22   I need to put the person in the restraint chair or

  23   take some other action to prevent self harm?


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   1           A.     Are you asking if they attempted to

   2   harm themselves in the jail?

   3           Q.     Yeah.     So if they either harm

   4   themselves or attempted it at one point and -- you

   5   know, when they were in your custody and then maybe

   6   they calmed down and then they're -- you're

   7   noticing them getting upset and you -- getting

   8   upset and kind of leaning towards doing it again,

   9   harming themselves again.

  10           A.     It's -- so it's if they harmed

  11   themselves, attempted to harm themselves in the

  12   jail, then they would go -- they would be placed in

  13   the restraint chair.         So if they had done that,

  14   they would be placed in the restraint chair.

  15           If we were to pull them out of the restraint

  16   chair and now they've calmed down after the two

  17   hours is up, they've calmed down, they're fine

  18   again and I can tell they're getting agitated, I

  19   can't just stick somebody in the chair just simply

  20   because they're upset, agitated because I think

  21   they might do something.

  22           There has to be something to go along with

  23   it, so whether that be an inmate hitting his head


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   1   or trying to hang himself or something along those

   2   lines.

   3            Q.     And in those situations where maybe

   4   someone was in the chair and then they're --

   5   they're taken out and then they seemed to have

   6   calmed down but you can tell they're getting

   7   agitated, can you tell us about any sort of policy

   8   and procedure that you follow in that situation

   9   where, you know -- I know that you can't put them

  10   back in the chair just because you think they're

  11   getting agitated.

  12            But are there any extra precautions that you

  13   take to say, okay, I can't put this person in the

  14   chair, but I can tell that they're getting

  15   really -- really frustrated so I'm going -- I'll

  16   just making something up -- give them a helmet or

  17   sit next to them to make sure they're not going to

  18   hit their head or do anything to harm themselves?

  19            A.     So we don't have any helmets or

  20   anything in our jail.        And typically, in our jail,

  21   there's one jailer, and there could be a number of

  22   inmates.      So we could -- we wouldn't be able to sit

  23   with them the entire time.


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   1           Typically, if I could tell someone was

   2   getting agitated, getting upset, they're still

   3   going to be on constant watch because they, you

   4   know, met that criteria.

   5           Somebody like that, I might try to verbally

   6   deescalate them and talk to them; you know, try to

   7   figure out what's going on; see if they want some

   8   water; see if they want a blanket; try to work with

   9   them to try to help calm them down.

  10           Q.     Okay.     And can you tell us what 9.41

  11   means, 9.41?

  12           A.     So a person that is in a state where

  13   they wish to harm themselves or others, they would

  14   fall under the mental hygiene 9.41 where we would

  15   transport that person to the hospital.

  16           Or if they're already in the jail, we would

  17   make them a 9.41 constant where, after arraignment,

  18   they would be taken to the -- the hospital to be --

  19   to receive psychiatric evaluation.

  20           Q.     Okay.     And from my understanding,

  21   there's a difference between maybe you're just

  22   observing someone that's odd behavior, not to be

  23   disrespectful, but that's not charged with a crime


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   1   versus someone that's a 9.41 that is charged with a

   2   crime?

   3            Are those different policies and procedures

   4   for both of those scenarios?

   5            A.    So if -- if we're on a call and there's

   6   no arrests to be made and the person, you know,

   7   falls under the 9.41 criteria, that person would be

   8   taken straight to the hospital because we have no

   9   reason to transport them to our jail.

  10            The -- once somebody's in our custody,

  11   whether it be they had a warrant or, you know, new

  12   charges, once they're in our custody and they begin

  13   to, you know, make suicidal comments, they try to

  14   harm themselves, try to harm us, then we would --

  15   we would just leave the 9.41 paperwork, and that

  16   would be given to the jailer so he knows they're on

  17   constant watch, they need to go down to the

  18   hospital after -- after they are released.

  19            That's -- that's the entire point of our

  20   observation with the suicide screenings and

  21   constant watch.

  22            Q.    And when is someone -- well, who -- is

  23   it always a Jamestown officer or City of Jamestown


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   1   employee who makes that call at -- in the jail,

   2   whether someone's a 9.41 or not or does that -- is

   3   that decided by someone else?

   4           A.     So as long as it's our arrest, yeah,

   5   they would be -- if it's an arrest that was made by

   6   a Jamestown officer or it's something that occurred

   7   in the jail, then it would -- it would always be a

   8   Jamestown Police Department officer.

   9           But sometimes, we have -- we have prisoners

  10   come in from the Town of Ellicott or the Sheriff's

  11   Department where they might make a comment to them

  12   and they can advise us depending on whatever their

  13   procedure is.

  14           Q.     And you've kind of -- and you've

  15   explained it in detail, but what information does

  16   that give you regarding the amount of supervision

  17   that an -- that an -- that an inmate needs if you

  18   know, okay, this person -- maybe you weren't

  19   involved in this arrest, but you know this person

  20   is a 9.41.

  21           Like, what does that tell you about the

  22   level of supervision needed on an inmate and maybe

  23   what their particular needs are to make sure that


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   1   they don't hurt themselves?

   2           A.     Once -- once I have that information,

   3   that's when I would -- at that point, I know

   4   they're on constant watch, they have to stay in

   5   front of me.

   6           I know they're going to be -- typically,

   7   they're going to be the most needy inmates in the

   8   jail.   So they're going to get -- primarily,

   9   they're going to get your attention first because

  10   they're up there with you.

  11           A lot of times, they're in the booking room

  12   with you, so you can engage with them, you can talk

  13   to them and try to deescalate them to try to -- you

  14   know, to try to help them through.

  15           Q.     Okay.     Okay.    I'm just going to jump

  16   around a bit because we've covered a good amount of

  17   the initial questions I wanted to ask you.

  18           Other than -- other than the -- the 9.41 and

  19   putting inmate on constant observation, can you

  20   tell us about any other policies and procedures

  21   that would apply to a situation where you suspect

  22   that an inmate is going through some sort of a

  23   mental health crisis or their mental health is just


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   1   deteriorating?

   2           A.     Are you asking me if -- so if they

   3   haven't met, like, the constant-watch criteria and

   4   you think they might be -- or are you saying

   5   they're already on constant watch?

   6           Q.     Yeah.     They're already on constant,

   7   yeah.

   8           A.     I mean, if you think they're getting

   9   worse while they're already in the jail, it's not

  10   like, you know, a medical issue where, you know,

  11   EMS can come to the jail and evaluate this person,

  12   then they would remain on constant watch and you

  13   would pay attention to them and try to talk to

  14   them.

  15           Q.     Did you say pay attention to them a

  16   little more or just pay attention to them?

  17           A.     You know, if you think that they are

  18   deteriorating, you're probably -- you would focus

  19   more on the -- on that inmate versus one that's

  20   just in a cell sleeping.

  21           Q.     And what sort -- based on your

  22   experiences, what sort of -- for lack of a better

  23   term, signs and symptoms, do you look out for on an


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   1   inmate that's in your care or a suspect that's in

   2   your care that might have a mental health condition

   3   that's getting worse and worse and worse?

   4           A.     Typically, you're watching for the

   5   self-destructive behavior where they're hitting

   6   their head; they're, you know, trying to -- trying

   7   to hurt themselves; trying to break the cuffs or

   8   shackles off of the bench.

   9           You're watching for any -- any cues like

  10   that to where, you know, you would need to

  11   intervene.

  12           Q.     Got it.      Okay.       And did you -- did you

  13   receive any sort of specific training regarding any

  14   sort of mental health conditions, for example, like

  15   a PTSD or an anxiety disorder or, you know,

  16   anything similar to that?

  17           A.     I know we -- we talked about it in

  18   the -- in the academy a little bit, just how to

  19   deal with emotionally disturbed persons and --

  20   yeah.

  21           Q.     Okay.     Is there any medical -- is there

  22   any medical staff at the Jamestown jail?

  23           A.     We don't have any medical staff at the


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   1   jail.     Jamestown Fire Department is connected to

   2   the police department, so they're just through the

   3   garage.

   4             Typically, if we call to EMS and they're

   5   going by, they'll come into the jail and ALSTAR, if

   6   needed, as well.

   7             Q.   Okay.

   8             A.   Yeah.

   9             Q.   Is there -- is there any part of the

  10   suicide-screening process that involves questioning

  11   the -- the inmate or suspect regarding any sort of

  12   past mental health diagnoses or treatment?

  13             A.   Yeah.     There's a question on the

  14   suicide screening that asks if they've ever

  15   received mental health counseling.

  16             Q.   And how does that play into the result

  17   of the suicide screening?           Like, what is that --

  18   what is that -- like, if the answer was yes or

  19   no -- or I'm sorry -- if the answer to that was

  20   yes, if they had a previous treatment or previous

  21   diagnosis, how does that play into the amount of

  22   supervision that you give them?

  23             A.   So simply the fact that they had


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   1   previous mental health -- received mental health

   2   assistance anywhere, that -- that wouldn't make

   3   them a constant watch by saying yes or no.

   4             It would be off the jail officer's

   5   observations and if they're currently -- if they

   6   tell you they've had a past suicide attempt within

   7   the previous year, you know, if they have nothing

   8   to look forward to, those -- those are the -- those

   9   are the ones that would automatically make them a

  10   constant watch.

  11             Them wanting to harm themselves, that --

  12   that would create the 9.41 as well as the constant

  13   watch.

  14             Q.    Okay.     So basically, the -- so the

  15   suicide screening, does that -- is that the

  16   questionnaire that you go through that leads to

  17   the -- leads to the 9.41 or are they two separate

  18   things?

  19             A.    They can be separate.           They can be

  20   together.      It just depends on how that inmates

  21   answers -- how they answer the questions.

  22             They can be a 9.41 before I even read them

  23   the questions.        Sometimes I just read them to kind


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   1   of gauge, you know, where they're at.

   2           Maybe they were suicidal on scene, but now

   3   they've calmed themselves down.             I still like to

   4   ask them so I know, plus it allows me to talk to

   5   the person and try to deescalate them.

   6           Q.     Did it jump up?          So the suicide

   7   screening, does that -- basically, does that

   8   determine -- that just goes to the amount of

   9   supervision that someone needs?             Is that --

  10           A.     Yeah.     The suicide screening helps

  11   determine if they're going to be constant watch or

  12   if they're going to be placed in the male block.

  13   Yeah.

  14           Q.     And have you had any -- have you had

  15   any experiences in -- you know, I'm assuming in the

  16   question that you had a similar experience with

  17   Christian, but I'll -- I'll get to that in a bit.

  18           But have you had any experiences other than

  19   Christian with inmates that were banging their

  20   heads off walls or banging their head off the

  21   ground or off of objects trying to harm themselves?

  22           A.     Yeah.     In the jail, I've had -- I've

  23   had people start to hit their heads.


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   1           Q.     And other than what we talked about --

   2   I think you mentioned putting them in the restraint

   3   chair and/or putting them on constant observation.

   4           Are there any other precautions that you've

   5   taken -- that you've taken in that situation, where

   6   you've observed someone hitting their head off the

   7   walls or off of objects or off the ground?

   8           A.     I have not.       The restraint chair is the

   9   thing I've used.

  10           Q.     Okay.     I want to shift gears and talk

  11   about any training or experiences that you had in

  12   the use of force in general.

  13           A.     Yeah.     We received training in the --

  14   in the sheriff's academy for use of force, and then

  15   we receive yearly use-of-force training through the

  16   department.

  17           Q.     And can you describe for us just

  18   generally what the Use of Force Continuum is?

  19           A.     So the Use of Force Continuum helps us

  20   determine -- based on the person, the suspect,

  21   their actions and behavior, helps us determine what

  22   level of force is reasonable to use at that -- at

  23   that time.


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   1           Q.     And can you -- can you describe for us

   2   the -- the different levels of resistance that are

   3   within the Use of Force Continuum and then what

   4   level of response that you can give to a certain

   5   level of resistance?

   6           A.     So first would be on the -- the

   7   suspect, subject's side; psychological

   8   intimidation, like them taking a shirt off; just

   9   showing any sort of, like, fighting behavior;

  10   verbal noncompliance, where they're not listening

  11   to our verbal commands; passive resistance, where

  12   they would be just, like, dead weight; like,

  13   defensive resistance, tensing up, trying to --

  14   they're trying to pull away; then, like, active --

  15   actively resisting, where the person's actively

  16   trying to fight with us.

  17           And then the next level would be if they

  18   were trying to -- if they were trying to harm us,

  19   like, with a deadly weapon or kill us.                  Then that

  20   would be the last level.

  21           And then on our side, it would be our -- our

  22   presence.     So when we show up, we're in uniform.

  23   They know that we're a police officer, our verbal


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   1   commands.

   2           Then we have soft-hand techniques, which are

   3   grabs and takedowns; and hard, empty-hand

   4   techniques, which would be strikes, kick, anything

   5   of that nature.

   6           Then it would be weapons, like TASER and OC

   7   spray, and then deadly physical force would be at

   8   the top.

   9           Q.     And what sort of response can you give

  10   if someone's passively resisting?             For example,

  11   they're just -- they're just being dead weight,

  12   what sort of force can you use in that situation?

  13           A.     So if somebody's just passively

  14   resisting and they're dead weight, at that point,

  15   we can -- we can use, like, soft, empty-hand

  16   techniques where we're using takedowns or we're

  17   going hands-on at that point.

  18           Q.     And have you received any sort of

  19   specific training or have you had any sort of

  20   specific experiences with using force on an inmate

  21   during the course of an arrest that is either

  22   threatening self harm or doing any sort of action

  23   to harm themselves?


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   1           A.     Yeah.     I've had -- I've had people in

   2   the past that have been attempting to harm

   3   themselves or threatening -- threatening harm.

   4           And that's when we try to do what we can to

   5   try to, obviously, prevent that.

   6           Q.     And what sort of precautions or steps

   7   do you take in that situation to prevent self harm?

   8           A.     Well, the -- if -- if they're just

   9   stating that they want to harm themselves, then

  10   that's where the 9.41 process would begin.                  We

  11   would complete that.

  12           If they're actively trying to harm

  13   themselves, like hitting their head, we would -- we

  14   would post on their head by placing our hand on the

  15   back of their head, that way -- or the side of

  16   their head.

  17           That way, they can't get any leverage to

  18   continue banging their head.

  19           Q.     Can you tell us about any sort of

  20   policy and procedure that applies to a situation

  21   where you have an inmate that, during the course of

  22   an arrest, is threatening self harm or actually

  23   doing actions to harm themselves regarding how you


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   1   would -- you would restrain them and transport them

   2   to the jail without them harming themselves

   3   further?

   4            A.    Typically, if -- if we're able to, we

   5   would -- we have -- we always handcuff in the back.

   6   That way, they don't have access to -- you know,

   7   their hands aren't free.

   8            But we would transport and, if needed, we

   9   would -- we could stop, address the situation, try

  10   to get them to calm down.

  11            But typically, we would transport to the

  12   jail, since it's a short distance away, and then

  13   address the situation there.

  14            If it was something where that person needed

  15   medical attention immediately, we would have EMS

  16   meet us or transport to a local hospital.

  17            Q.    And now, on December 10 of 2020, you

  18   were a Jamestown officer, right --

  19            A.    Yes.

  20            Q.    -- Jamestown employee on that night?

  21            A.    Yes.

  22            Q.    And were you -- were you working that

  23   night?


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   1           A.     Yes.

   2           Q.     Okay.     And who -- what shift were you

   3   on on December 10 of 2020?

   4           A.     Night shift, which is eleven to seven.

   5           Q.     Okay.     And who was on the night shift

   6   with you?

   7           A.     That night, I know Lieutenant Ward was

   8   the shift commander.         Officer Schimek, he was on

   9   the command deck.        Officer Conklin was in the city

  10   jail.   Myself and Officer Obergfell were on patrol

  11   and Officer Johanson was on patrol that night.

  12           Q.     Okay.     Okay.    I just want to ask you --

  13   I'm just going to ask you some quick questions

  14   regarding some specific policies, and then I'll get

  15   into what your interactions with Christian were

  16   that night.     Okay?

  17           A.     Okay.

  18           Q.     And really, the only thing I'm

  19   interested in on these policies is if you recognize

  20   them and if, to your knowledge, they were in effect

  21   on December 10 of 2020.          That's all I'm really

  22   interested in.

  23           A.     Okay.


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   1           Q.     So let me share my screen here.                Okay.

   2           Can you see my screen?

   3           A.     Yes.

   4           Q.     Okay.     So I want to show you -- and I

   5   may -- and I was able to do it where you could see

   6   a preview, so this should go a little bit smoother.

   7           So I'm showing you what's marked as

   8   Plaintiff's A.        Do you see that on the screen where

   9   it's got an A on the top-right corner, and then it

  10   has number 1.11.01 and then, subject, use of force?

  11           Do you see that?

  12           A.     Yes.

  13           Q.     And my question is -- and I can page

  14   down, but if you've seen this before and if -- if

  15   this was a policy that was in effect on December 10

  16   of 2020.

  17           A.     Yes.

  18           Q.     Okay.     Okay.    So yes to both?

  19           A.     Yes.

  20           Q.     Okay.     Okay.    I want to show you what

  21   has been marked as Plaintiff's B.              And just in case

  22   I got the numbering mixed up, it has number

  23   2.02.12.     And the subject is psychiatric evaluation


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   1   and transports.        Do you see that?

   2           A.     Yes.

   3           Q.     Okay.     And same question:          If you've

   4   seen it before and if it was in effect on December

   5   10 of 2020.     And I can page -- I can page through

   6   it.

   7           A.     Yes.

   8           Q.     Okay.     Okay.     Yeah.    And it looks like,

   9   at the bottom left-hand corner of these policies,

  10   it has issued and revised, so that would probably

  11   tell us as well.        Okay.

  12           I want to go to Plaintiff's Exhibit C.                    And

  13   so Plaintiff's Exhibit C has policy number 4.02.05

  14   and has prisoner custody transport and treatment.

  15           Same questions:          If you've seen this before

  16   and if it appears to be the policy that was in

  17   effect -- a policy that was in effect on December

  18   10 of 2020.

  19           A.     Yes.

  20           Q.     Okay.     Okay.     And now I'm showing you

  21   Exhibit D.     It's policy number 4.05.01, and it has

  22   suicide prevention program development.                  And it

  23   says, effective April 15th of 1994.


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   1           Have you seen this policy before and was it

   2   in effect on December 10 of 2020?

   3           A.     Yes.

   4           Q.     Okay.     And then the last one, which I

   5   believe is exhibit Plaintiff's D, which has policy

   6   number 4.05.08, and it has suicide prevention

   7   program referrals of prisoners for mental and

   8   medical health service.

   9           Have you seen this before and was it the --

  10   a policy that was effective on December 10 of 2020?

  11           A.     Yes.

  12           Q.     Okay.     I might have mixed that one up,

  13   but I'm showing you on the screen policy number

  14   4.05.01, and it's suicide prevention program

  15   development effective April 15th, 1994.

  16           Do you recognize this?           Is this what we

  17   just -- did we just look at this one?

  18           MR. RAIMONDO:        I think we just looked at

  19   this one, Blake.

  20           MR. ZACCAGNINO:         Okay.    Sorry about that.

  21   I'm a little mixed up.          Let me see.       I think we

  22   might have looked at this one, but -- here.

  23


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   1           BY MR. ZACCAGNINO:

   2           Q.     Here.     The 4.05.01 was just the suicide

   3   prevention program development, and it's one page.

   4           So have you seen this before and was it in

   5   effect on December 10 of 2020?

   6           A.     Yes.

   7           Q.     Okay.     All right.      I can stop sharing

   8   my screen for now.

   9           So I was wondering if I could ask you -- you

  10   know, I figure the easiest way that I could do this

  11   is to ask you about -- you know, just -- just

  12   generally what your -- what your interactions were

  13   with Christian Powell on December 10th of 2020

  14   maybe from start to finish.

  15           And then I can kind of break it down if need

  16   be or just kind of jump in to ask you questions, if

  17   that's all right.

  18           A.     Okay.     So the Chautauqua County

  19   Sheriff's Department responded to a call at 111

  20   Barrett Avenue to speak with Mr. Powell regarding a

  21   larceny of titles, and it was stuff with his kids.

  22           At an address on -- I believe it was Stone

  23   Road that was outside the city.             So when he called,


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   1   we were advised that Mr. Powell had a valid felony

   2   arrest warrant for criminal contempt, first, out of

   3   Jamestown.

   4           So myself and Officer Obergfell were

   5   dispatched to back up the sheriff's car, which was

   6   Deputy Madonia.

   7           When we arrived on scene, Deputy Madonia

   8   spoke with Mr. Powell regarding -- regarding the

   9   incident that he -- he had called about, what he

  10   wanted to discuss.

  11           And at the end of their conversation,

  12   Mr. Powell -- throughout their conversation,

  13   Mr. Powell was very -- very agitated.

  14           He was -- you know, we were trying to

  15   deescalate and trying to get him to calm down

  16   because it's three in the morning and he's outside

  17   yelling and causing a disturbance.

  18           So when Deputy Madonia was done speaking to

  19   Mr. Powell, Deputy Madonia advised him of his

  20   warrant.     So once he was advised of his -- once he

  21   was advised of the warrant, he -- he stated no, and

  22   he began to reach into his pockets.

  23           And at this time, Mr. Powell hadn't been


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   1   searched.     We didn't know if he had any knives,

   2   guns, weapons, anything to harm us on his person.

   3           So when he started to reach into his pocket,

   4   myself and Officer Obergfell took control of his

   5   wrists, and we were attempting to place him into

   6   custody and trying to get his hands behind his back

   7   because he had the felony -- the felony warrants.

   8           He was a threat to us at that time because

   9   we don't know what he's -- what he's going to do.

  10           He's -- and then at that time, he began to

  11   tense up.     He was yelling.          He refused to put his

  12   hands behind his back.         He was trying to curl them

  13   in front of him and pull away from us.

  14           So after several attempts of trying to calm

  15   him down, getting him to put his hands behind his

  16   back, we used our -- our training, which is

  17   handcuff while on the ground because it's a -- a

  18   better position for us to gain control.

  19           So Officer Obergfell and I performed a

  20   two-officer takedown.        I bear-hugged Powell's legs,

  21   and that way, he couldn't -- he couldn't run.

  22           And Officer Obergfell lowered him to the

  23   ground with the arm that he was trying to gain


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   1   control of.

   2           I -- so I anchored his legs to the ground by

   3   hugging his legs so he couldn't thrash and kick and

   4   try to get back up because that's a threat to us.

   5           When his hands are underneath him because we

   6   don't know what's in his grabbable area at the

   7   time.

   8           So Officer Obergfell and Deputy Madonia

   9   began to attempt to extract Mr. Powell's hands.

  10           We -- we tried talking to him throughout --

  11   throughout the arrest.         We -- we tried to get him

  12   to comply.     He refused.

  13           So they -- they began extracting his hands,

  14   pulling them out from underneath him to place the

  15   wrist restraints on.

  16           At that time, Mr. Powell's mother came

  17   outside.     I didn't know it was his mother at the

  18   time, but she started approaching us.               I advised

  19   her to stay back, which she did, and she was also

  20   trying to assist us in calming Christian down.

  21           Once -- once we were able to get the wrist

  22   restraints on, we -- we kind of got up off him a

  23   little bit to just apply pressure just to hold him


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   1   onto the ground so he wasn't thrashing around

   2   trying to run away or anything.

   3           We just kind of sat with him there trying to

   4   talk to him trying to deescalate him because he was

   5   clearly agitated.

   6           And we advised him that we'll stand you up

   7   as soon as you calm down.          We tried talking to him

   8   numerous times.

   9           At one point, he was banging his head off of

  10   the gravel, and Officer Obergfell stated that --

  11   that he was bleeding.

  12           So at that point, I called for -- I called

  13   for EMS for them to come to evaluate Mr. Powell,

  14   make sure there was nothing that needed immediate

  15   attention from medical staff.

  16           He continued to, you know, show aggressive

  17   behavior and, you know, noncompliance verbally.                    So

  18   we -- we stayed with him on the ground.

  19           We were eventually able to stand him up.

  20   And once we got him up, we were able to check his

  21   pockets.    He -- he was then walked over to a marked

  22   patrol car.

  23           And we were attempting to place Mr. Powell


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   1   into the back of the car.          He was still being

   2   aggressive.

   3             We advised EMS to meet us at the jail.                It's

   4   a better location.       It's close.       Jamestown Fire

   5   Department's connected to the police department, so

   6   we knew that they could meet us immediately.

   7             So we decided to just have them meet us

   8   there.     We didn't want to put ALSTAR or the fire

   9   department in harm's way out in the dark where you

  10   can't really see and he's still being aggressive.

  11             So we -- we went and placed him in the back

  12   of the car.     He was kicking at the car.              We were

  13   trying to place him in the back.

  14             We were able to get him in Officer

  15   Obergfell's car, and then Officer Obergfell

  16   transported him to the city jail.

  17             Q.   And you mentioned that, at one point,

  18   he was -- Christian was hitting his head off the

  19   gravel?

  20             A.   Yes.

  21             Q.   Was that after he was -- after he was

  22   handcuffed or was it in the process of being

  23   handcuffed?


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   1           A.     I was holding -- I was holding

   2   Mr. Powell's legs, so my face and body cam was

   3   mostly down and those guys were in front of me.                     So

   4   I couldn't say if it was before or after.

   5           Q.     And do you know how many -- do you have

   6   an estimate of how many times he hit his head on

   7   the ground, if it was one time, five times, or

   8   something in the middle or something else?

   9           A.     That, I'm not sure on.

  10           Q.     Okay.     And can you tell us about

  11   anything that was done to either prevent Christian

  12   from hitting his head -- hitting his head off the

  13   ground or preventing him from self harm just based

  14   on your interactions with him prior to using force?

  15           A.     I'm sorry.       Could you repeat that?

  16           Q.     Sure.     Can you tell us about any sort

  17   of -- any sort of precautions that you took to

  18   prevent Christian from banging -- or from hitting

  19   his head off the ground?

  20           A.     I believe Officer Obergfell, he placed

  21   his hand on his head to get head control.                  That

  22   way, Christian could no longer lift his head off

  23   the ground to continue to bang his head.


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   1           Q.     And how is he -- how was he restrained

   2   at that point?        Was he -- were the handcuffs behind

   3   him or in front of him or --

   4           A.     I'm not sure if he was -- I'm not sure

   5   if he was handcuffed yet at that point, but once we

   6   did place the wrist restraints on, they were behind

   7   his back.

   8           Q.     Okay.     And then he was put into the

   9   patrol car?

  10           A.     Yes.

  11           Q.     Okay.     Was anything done differently as

  12   far as how he was restrained within the patrol car

  13   to prevent him from any further -- further self

  14   harm, for example just, you know, maybe handcuffing

  15   his ankle or, you know, preventing further movement

  16   or was there anything further done beyond

  17   handcuffing him and placing him in the back of the

  18   car to prevent further self harm?

  19           A.     Just the handcuffs at that point in

  20   time.

  21           Q.     And I know that you -- or you might

  22   have mentioned this earlier, but -- I think you

  23   mentioned -- and you can tell me if I'm wrong.


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   1           If a prisoner or someone in custody is

   2   engaging in self harm on the way to where you're

   3   transporting him, you have the option of stopping

   4   and going in to address the -- you know, address

   5   the suspect?

   6           A.     Yeah.     If -- so if somebody's -- if

   7   they're trying to escape the handcuffs, if they're

   8   trying to, you know, damage our car or hurt

   9   themselves, we always have the option of stopping,

  10   calling for another car wherever our location is to

  11   stop -- or try to help any further behavior from --

  12   yeah -- from him hurting himself or damaging our

  13   property or trying to escape.

  14           Q.     Did you have any further -- any further

  15   interactions with Christian beyond the 111 Barrett

  16   and then placing him in the patrol car?

  17           A.     After that, I responded to the city

  18   jail just to assist.

  19           Q.     And what were your interactions or

  20   observations with Christian when he got to the

  21   jail?

  22           A.     Once he was in the jail, he was -- he

  23   was kind of -- he was crying.            He was upset, and he


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   1   would just -- you know, he would start yelling at

   2   us.

   3           He was -- he was clearly -- clearly

   4   agitated, and he would just -- he would kind of go

   5   up and down emotionally as he were trying to get

   6   his -- as we were trying to get his property from

   7   him.

   8           Q.     And then can you tell us about any

   9   observations that you had of him maybe from the

  10   time you first got to the -- when you first got to

  11   the jail until -- until his arraignment?

  12           A.     I was only in the jail for the period

  13   of time where we -- where we gathered his property.

  14   And then after that, I went back out on patrol.

  15           Q.     And was it -- was it your understanding

  16   that, on the way to -- on the way from 111 Barrett

  17   to Jamestown jail that Christian was bashing his

  18   head off the -- the inside of the patrol car?

  19           A.     I was not aware of that.

  20           Q.     Okay.     And did you have any -- did you

  21   have any knowledge that -- or is it your

  22   understanding that when he first got to the jail

  23   and he was taken out of the car, that he hit his


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   1   head off the trunk of the patrol car?

   2           Do you have any knowledge of that?

   3           A.     I was advised by other officers, but I

   4   never saw anything because I wasn't there.

   5           Q.     And -- and was Christian put into the

   6   restraint chair at least from the -- the point

   7   that -- or during the time frame that you observed

   8   him at the jail?

   9           A.     No.

  10           Q.     Okay.     And can you tell us -- and I

  11   think you mentioned it earlier, but you can tell me

  12   if I'm wrong -- anything that Christian said or any

  13   threats that he made during the course of your

  14   interaction either at 111 Barrett or at the -- or

  15   at the jail where he was threatening self harm or

  16   threatening suicide?

  17           A.     When -- when he was on the ground on

  18   Barrett Ave when we were -- when we were

  19   handcuffing and he was striking his head, he made

  20   suicidal comments.

  21           Q.     And did he make any other suicidal

  22   comments or -- you know, I know that you mentioned

  23   when he was at the jail he was crying.                   You know,


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   1   did he make any sort of other statements that he

   2   wanted to die or anything that you observed?

   3           A.     I don't recall.

   4           Q.     When -- what was he crying about?                Do

   5   you -- do you remember, like, if it was a -- if it

   6   was regarding his kids or just -- just the general

   7   situation of him being arrested?

   8           MS. D'AGOSTINO:        Objection.       You can answer

   9   if you know.

  10           THE WITNESS:       I'm not exactly sure.           He --

  11   he'd mentioned his kids.         He'd mentioned the title.

  12   He'd mentioned his -- his girlfriend or

  13   ex-girlfriend and not having slept.

  14

  15           BY MR. ZACCAGNINO:

  16           Q.     And I -- you know, how would you

  17   describe -- you know, you pretty much already done

  18   it, but how would you describe his behavior at the

  19   Jamestown jail based on your observations?

  20           You know, I know you mentioned he seemed

  21   agitated, but can you describe -- can you tell us

  22   how you would describe his behavior at the

  23   Jamestown jail based on your observations?


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   1           A.     He went through -- he went through a

   2   bunch of emotions from being upset, like I said, to

   3   crying to angry to -- he just was kind of all over

   4   the place.

   5           Q.     Did it seem like he was -- he was

   6   having some sort of a mental health crisis or if he

   7   was just really upset based on the circumstances?

   8           A.     That, I'm not sure.          Obviously, we had

   9   already completed -- at that point, he was already

  10   a 9.41 constant watch, so he -- he had already fit

  11   that criteria for mental health.

  12           Q.     Okay.     And then I know that you -- your

  13   observations of him at the jail, at the actual

  14   jail, was limited, but did you learn any other

  15   information regarding Christian's behaviors from

  16   the time that you last observed him at the jail

  17   until he -- until he left the facility?

  18           A.     No.     I was on other calls.

  19           Q.     Okay.     Were you made aware of any

  20   further -- any further instances of self harm or

  21   self-harming actions that he did from the time that

  22   you last observed him at Jamestown jail until he

  23   left the facility?


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   1            A.    I was not.

   2            Q.    Okay.     Okay.    And I think you mentioned

   3   who was on the shift or -- and tell me if I'm

   4   wrong.    I think you mentioned who was on the scene.

   5            And did you tell us who was at the Jamestown

   6   jail when you were there?           I don't remember if I

   7   asked you that.

   8            A.    I don't believe you asked.

   9            So Officer Conklin, he was the jail officer

  10   that day.     Our shift commander, Lieutenant Ward, he

  11   was in the jail.

  12            Officer Schimek, he was in the jail.                 I was

  13   in the jail.     Officer Obergfell was in the jail,

  14   and Officer Kaitlin Johanson was in the jail.

  15            Q.    How many other suspects or inmates were

  16   at the jail at the time?

  17            A.    I don't recall.

  18            Q.    Okay.     Okay.    Can you tell us how

  19   many -- I think you mentioned -- well, I can ask

  20   you this:     Were there three officers on scene at

  21   111 Barrett and then Christian and his mom?

  22            Were those the only people that were on

  23   scene that you were aware of?


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   1            A.    Those were the only ones that I was

   2   aware of at the time.         I do remember that, as I was

   3   leaving, a neighbor came outside, but that's --

   4   that's all I remember.

   5            Q.    And I think you mentioned that

   6   Christian's mom came out at one point and was kind

   7   of coming near the scene.

   8            Was she interfering with your arrest at all

   9   or did she just kind of show up and you said, hey,

  10   back up, and then she was -- you know, she was

  11   done?

  12            A.    Yeah.     She came out.        I advised her to

  13   stay back, and she complied.

  14            Q.    And when -- when you advised Christian

  15   that he had warrants and that you had to take him

  16   in, did he try to run away at all?

  17            A.    He didn't try to run.           He just started

  18   reaching into his pockets.

  19            Q.    Okay.     And on -- in your search of him,

  20   did he end up having any weapons on him at the time

  21   or no?

  22            A.    I don't recall him having any weapons.

  23            Q.    And what was he wearing?             Was he


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   1   wearing his pajamas or was he in jeans or do you

   2   know what he was wearing?

   3           A.     I remember him saying he had a

   4   200-dollar pair of jeans on.

   5           Q.     And what were his -- what charges came

   6   out of the incident at 111 Barrett?               Like, were

   7   they misdemeanors or felonies or what level of

   8   criminal charge came out of that incident?

   9           A.     Well, so in the beginning, he had the

  10   felony arrest warrant.           And then at the scene, he

  11   additionally was charged with criminal mischief,

  12   four; obstructing governmental administration; and

  13   resisting arrest, which are misdemeanors.

  14           Q.     And the felony -- you said felony

  15   contempt?

  16           A.     Yeah.     He had a felony criminal

  17   contempt first arrest warrant.

  18           Q.     Was it -- what was the nature of the

  19   contempt?     Was it violating an order of protection

  20   or --

  21           A.     That, I don't -- I don't know.

  22           Q.     Okay.     Okay.     Do you know if it was a

  23   violent -- if it was considered to be, like, a


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   1   violent -- I don't know if the term would be

   2   violent violation of the order or if it was just he

   3   had an order -- he had an order of protection in

   4   favor of someone else and the allegation was just

   5   that he was present in violating it?                Do you know?

   6           A.     That, I'm not sure.

   7           Q.     Okay.      Did you hear Christian, at any

   8   point at 111 Barrett, ask to be sent to the

   9   hospital for mental health evaluation?

  10           A.     I don't remember him saying anything.

  11   I do remember his mom saying something regarding

  12   that.

  13           Q.     What was she saying about that?                Do you

  14   remember?

  15           A.     I just remember she was trying to

  16   deescalate and trying to calm him down so we could

  17   stand him up.         We were telling him, we're going to

  18   get you up, you just got to calm down, you just got

  19   to calm down.

  20           And she had said that he needs a mental

  21   health eval, and that was shortly after he was

  22   banging his head on the ground, which at that

  23   point --


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   1           Q.     Okay.

   2           A.     Which, at that point, he was banging

   3   his head and making suicidal comments.                   So he was

   4   already going to get an eval once released from --

   5   or after arraignment at our jail.

   6           Q.     Did he make any sort of statements

   7   regarding having, like, a prior appointment at

   8   Jones Hill -- Jones Hill facility for a psychiatric

   9   issue or --

  10           A.     I don't recall.

  11           Q.     Okay.     And other than what we've talked

  12   about, was there anything else done in responses to

  13   his mom informing you, like, hey, he's -- he

  14   probably needs mental health evaluation?

  15           A.     I guess -- what are you asking with

  16   that?

  17           Q.     I'm sorry.       I could rephrase.           Any sort

  18   of extra precautions taken of -- you know, of -- in

  19   response to being made aware that he may have some

  20   pre-existing psychiatric issue or, you know,

  21   anything else done to prevent him from acting out

  22   his self-harming behaviors?

  23           A.     At that point, we'd taken most of the


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   1   precautions that we -- we have available.                  We made

   2   him a 9.41.     We made him a constant watch in the

   3   jail.   We had attempted to use head control to

   4   prevent him from further harming himself, so --

   5           Q.     Okay.     Did Christian, at any point at

   6   111 Barrett, express that it -- that his handcuffs

   7   were too tight?

   8           A.     I don't recall.

   9           Q.     Do you recall if his handcuffs were

  10   ever -- if the tightness was ever adjusted at any

  11   point at 111 Barrett?

  12           A.     That, I'm not sure because the other

  13   officers, they handcuffed him.             I was holding on

  14   his legs.

  15           Q.     Okay.     Okay.    On scene at -- well, I

  16   could ask this as a more general question.

  17           Was there any point at either 111 Barrett or

  18   at the jail that you observed one of the other

  19   officers on scene jump in to either prevent another

  20   officer from using a certain type of force or take

  21   some -- some other action to prevent him from

  22   harming himself or were you guys pretty much in

  23   agreement on -- on how the situation was being


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   1   handled?

   2           MS. D'AGOSTINO:        Objection.        You can answer

   3   if you understand the question.

   4           THE WITNESS:       Yeah.       I'm not sure -- I'm not

   5   sure what you're asking.

   6           MR. ZACCAGNINO:        Oh.      Sure.    So what I'm

   7   asking is:     At any point during your interaction

   8   with Christian, whether it was at 111 Barrett when

   9   force was used or your observations of him at the

  10   jail, did -- were all of the officers pretty much

  11   in agreement with how to handle the situation or

  12   was there disagreement regarding, you know, okay, I

  13   shouldn't use this -- you know, this amount of

  14   force should not be used or this amount of

  15   supervision should not be used?

  16           Do you know what I'm asking?              It's a bad

  17   question, but I don't know if you understand it.

  18           MS. D'AGOSTINO:        Objection.        You can answer

  19   if you understand the question.

  20           THE WITNESS:       Yeah.       Like, on scene, the

  21   force that was used was all agreed upon by all of

  22   us.   We have a subject that is -- you know, he

  23   already has felony arrest warrants.


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   1           He is not showing us his hands, which are a

   2   threat to us when he's placing them in his pockets

   3   and we're not sure what he's going to pull out,

   4   whether it be weapons.

   5           He's actively resisting our arrest at that

   6   point in time.        So at that time, he's -- he's

   7   actively resisting, so using -- using takedowns

   8   are, you know, well within our ability for that

   9   level of use of force for reasonableness.

  10

  11           BY MR. ZACCAGNINO:

  12           Q.     Was he slammed up against the car in

  13   the driveway at 111 Barrett?

  14           A.     No.

  15           Q.     Did Christian throw any punches at

  16   officers or -- or kick officers at all?

  17           A.     He attempted to kick at us when we --

  18   when we placed him in the patrol car.                He tried

  19   kicking the car.        And then when we placed him in

  20   the car, he tried rolling on his side and kicking

  21   out the door at us.         But other than that, I'm not

  22   sure if he tried anything else once in the jail.

  23           Q.     Okay.     And was there -- was there any


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   1   point during the course of his arrest at 111

   2   Barrett where he broke free of -- of -- of any of

   3   the officers or was -- during the course of his

   4   arrest, did at least one officer have contact with

   5   him as far as, like, you know, holding on to him?

   6           A.     We had contact with him.

   7           Q.     Okay.     Okay.    Had you had any prior

   8   experiences with Christian before that night?

   9           A.     I don't recall.          I know -- I remember

  10   on my body cam, I had stated that I hadn't seen him

  11   in a while.     For myself, sometimes I use that as a

  12   deescalation tactic because sometimes, it calms

  13   them down, like, maybe it's a familiar face.

  14           So I'm not sure on that.

  15           Q.     Okay.     Did he express to -- to anyone

  16   on the scene during the course of his arrest at 111

  17   Barrett that he -- he couldn't breathe?

  18           A.     Yeah.     He stated that while he was on

  19   the ground as he was yelling and cursing at us.

  20           Q.     Were there any sort of adjustments made

  21   to that -- made in response to that?

  22           A.     At that point in time, we -- I was

  23   still kind of anchoring his legs.              Deputy Madonia,


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   1   I believe, was holding his -- I think it was his

   2   right-shoulder area down.

   3           So there was no -- no direct pressure to his

   4   neck.   There was no -- there was no adjustment made

   5   immediately until he calmed down, and then we --

   6   and then we stood him up.

   7           Q.     Okay.     And at what point during the

   8   course of his arrest at 111 did -- did -- you know,

   9   I know that you can't -- you can't speak for how

  10   the other officers were feeling, obviously, but at

  11   what point did you feel that Christian was no

  12   longer a threat to -- no longer a threat to you as

  13   far as harming you?

  14           A.     When he -- when he, like, stopped

  15   tensing up -- I mean, we could feel he kind of --

  16   he stopped tensing up.          He was starting to -- he

  17   was starting to be able to talk to us.

  18           He asked to be stood up, and at that point

  19   in time, we felt that it was time to, you know,

  20   stand him up, see if he would remain calm.                  That

  21   way, we could continue the arrest and transport.

  22           Q.     Do you know if -- if Christian was

  23   given a mental health evaluation per the 9.41


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   1   before his arraignment or after?

   2           A.     That, I'm not sure.         My shift ended

   3   at -- at seven that day.         So after that, I'm not

   4   sure what -- what took place.

   5           Q.     And is it the -- is it the general

   6   practice and procedure to -- that if an inmate is a

   7   9.41, they generally will get seen at a hospital

   8   after -- after the arraignment and then they're

   9   kind of out of your -- they're kind of out of your

  10   care?

  11           A.     Correct.     So if they were -- if they

  12   were released -- released on their own recognizance

  13   or whatever after arraignment, they wouldn't be

  14   permitted to -- they would have to address the

  15   mental health 9.41 first.

  16           So they would be transported to the hospital

  17   before everything was done, but if they were --

  18   I've never worked a day shift in the jail, so I

  19   can't speak for what happens if they are being sent

  20   to -- if they're being sent to Mayville or -- I'm

  21   not sure at what point the eval is done.

  22           Q.     And when you left your shift, which --

  23   was that -- that was at 7:00 a.m.?


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   1            A.    Correct.

   2            Q.    Was Christian still there at the jail

   3   when you left?

   4            A.    That, I'm not sure.

   5            Q.    And you went to -- when you first got

   6   to 111 Barrett, was that at about 3:00 a.m. --

   7            A.    Yes.

   8            Q.    -- or 2:33?       Okay.

   9            Do you know when he left Jamestown booking

  10   or no?

  11            A.    That, I'm not sure.

  12            Q.    Do you, by chance, know who was on the

  13   day shift on December 10th?

  14            A.    I don't.

  15            Q.    Okay.     Did -- did Christian make any

  16   statements to you during the course of your

  17   interactions with him that he was drinking, that he

  18   had been drinking?

  19            A.    I don't recall that.

  20            Q.    I just want to go through -- if you can

  21   just give me two minutes, I just want to make sure

  22   I have all of the exhibits up, and then I will get

  23   you finished fairly quickly.             Is that okay?


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   1           Okay.     Just give me one minute.

   2

   3           (Whereupon, a recess was then taken.)

   4

   5           BY MR. ZACCAGNINO:

   6           Q.      Officer, do you know -- I think you

   7   mentioned that EMS was called -- that -- sorry --

   8   that EMS was called from the scene at 111 Barrett?

   9           A.      Yes.    I called for them.

  10           Q.      And what was the reason why it was

  11   called or why EMS was called?

  12           A.      I heard Officer Obergfell state that he

  13   was bleeding after he hit his head.               So any time

  14   there's any sort of, you know, possible injury, we

  15   aren't medical professionals so we like to get the

  16   person evaluated to get, you know, a better

  17   opinion.

  18           Q.      And did -- did Christian get any injury

  19   during the course of the arrest that was caused by

  20   the officers -- by any of the officers using force

  21   that you're aware of?

  22           A.      Not that I'm aware of.

  23           Q.      And did EMS meet him at the -- the


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   1   jail --

   2             A.   Yes.

   3             Q.   -- or on the scene?          Okay.

   4             And then did you observe any other -- other

   5   than EMS on the scene, I understand he -- he got

   6   some additional care after, but was that the only

   7   care that you observed him getting while he was at

   8   the jail and then you were kind of off -- you know,

   9   you were not involved?

  10             A.   Yeah.     Once -- once we got his property

  11   and ALSTAR evaluated him, after that, I didn't have

  12   any more contact with him.

  13             Q.   Okay.     And what -- what injuries did

  14   you notice on him after the -- after he was brought

  15   from 111 to the scene -- or to booking?

  16             A.   Once we got to the jail, I noticed that

  17   he had some scrapes -- I can't remember on which

  18   side on his forehead -- that were from him bashing

  19   his head on the ground.

  20             And then I know ALSTAR was checking out a --

  21   I believe it was a finger that was bleeding, but

  22   other than that, those were the -- those were the

  23   only two I was aware of.


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   1            Q.      Okay.     I just want to go through some

   2   exhibits here, and I'll go through them quickly.

   3   The only thing I'm interested in is if you've seen

   4   them before and if they're a fair and accurate

   5   representation of the document.

   6            A.      Okay.

   7            Q.      So let me -- let me go to my Dropbox

   8   again.    I like Dropbox.          It's easy.       Let's see.

   9            Okay.     So I want to show you -- I think we

  10   marked this one as Plaintiff's Exhibit F, but I can

  11   just -- I can describe it.

  12            It has Jamestown Police Department report

  13   day Thursday 12/10/2020 at 0253.                And then on the

  14   top, because I think this was -- this was E-filed.

  15   It just has the case number, case 121 and then

  16   00721.    Do you recognize this document here?

  17            A.      Yes.     That's an incident report.

  18            Q.      The incident report?           Okay.      And does

  19   this -- does it appear to be fair and accurate?

  20            A.      Yes.

  21            Q.      Okay.     Okay.    I'm showing you that -- I

  22   think this one was marked as G, but I'm not

  23   completely sure, but I can just describe it.


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   1           It has -- the top-left corner has case file

   2   number 1044, and then it has filed date 8/23/21,

   3   page 5 of 9 in the left corner.

   4           Do you recognize this document?

   5           A.      That is an incident report that Officer

   6   Conklin completed in the jail.

   7           Q.      Okay.     And does it appear to be fair

   8   and accurate?

   9           A.      I didn't write that report, so --

  10           Q.      Okay.     Okay.    That's fair enough.

  11           Okay.     I'm showing you -- I had it marked as

  12   Plaintiff's H, but it -- just for reference, it has

  13   case file number 1018 on the top left, and it has

  14   Jamestown Police Department.             And then it has filed

  15   8/30/21, page 5 of 7.

  16           Do you recognize this document here?

  17           A.      That's a -- it appears to be an

  18   incident report completed by day shift, by --

  19           Q.      Okay.

  20           A.      -- by Officer Conti.           So I've never

  21   seen that.

  22           Q.      Okay.     Okay.    I want to show you what's

  23   been marked as Plaintiff's Exhibit I, I believe,


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   1   but this is a use-of-force form.

   2           And just so that we can refer to it later,

   3   it has document number 14-3 on the top middle.

   4           Do you recognize this?

   5           A.     Yes.     It's a -- actually, keep going

   6   down on it.     Yeah.     That's the use-of-force report

   7   that Officer Obergfell completed --

   8           Q.     Okay.

   9           A.     -- and the shift commander signed off

  10   on.

  11           Q.     And does it appear to be fair and

  12   accurate -- a fair and accurate representation of

  13   it?

  14           A.     Yes.

  15           Q.     Okay.     I'm not sure -- I don't think we

  16   went over this one, but I could be wrong.                  I had

  17   this marked as Exhibit J -- or I'm sorry --

  18   plaintiff's J, case file number 1044.

  19           And it has document 14-5 on the top, filed

  20   8/27/21.     Do you recognize this document here?

  21           A.     I do not.      That's a jail incident

  22   completed by Officer Conklin.

  23           Q.     Okay.     The last exhibit I want to show


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   1   you is -- I guess it's not marked as K, but it has

   2   M on the top and is -- has -- has request for

   3   examination of person, document number 14-3.

   4             It looks like the 9.41 document.               Do you

   5   recognize this?

   6             A.   Yes.     That's the 9.41 I completed.

   7             Q.   Oh.     You completed this one?

   8             A.   Yes.

   9             Q.   Okay.     And is it fair and accurate?

  10             A.   Yes.

  11             Q.   Okay.     Did you review anything to

  12   prepare for today as far as documents or anything?

  13             A.   Yeah.     I reviewed my body cam.            I

  14   reviewed the original incident, the informations,

  15   the resisting, the obstructing, the criminal

  16   mischief, the use-of-force report, the mental

  17   health -- the mental health 9.41 report, and then

  18   went over some of the GOs.

  19             Q.   And is there -- do you have a

  20   discipline -- a discipline file at Jamestown

  21   police?

  22             A.   Are you saying have I been personally

  23   disciplined or do we have one for each officer?


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   1           Q.     Yeah.     Just in general if you have one

   2   for each officer.

   3           A.     Yeah.     I believe they document it.               I

   4   don't have any disciplinary issues that I'm aware

   5   of.

   6           Q.     Have you -- have you given any previous

   7   testimony either civilly or criminally?

   8           A.     Criminally, I have.

   9           Q.     Okay.     Just for, like, DWIs and things

  10   like that or --

  11           A.     Yeah.     For felony arrests and then,

  12   yeah, like, DWI.

  13           Q.     Okay.     Have you ever been named in a

  14   lawsuit for -- other than -- or I'm sorry.

  15           Have you either been involved in a lawsuit

  16   other than this one for your -- regarding your work

  17   as an officer?

  18           A.     No.

  19           MR. ZACCAGNINO:         Okay.      That's all I have

  20   for you.     Either Mary or Elliott might have some

  21   follow-ups, but I appreciate your time.

  22           THE WITNESS:        Okay.       Thank you.

  23           MR. ZACCAGNINO:         Thank you.


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   1             MS. D'AGOSTINO:       Officer, do you need

   2   another break?        I just have a couple questions for

   3   you.     It should be pretty quick.

   4             THE WITNESS:      I should be okay.

   5             MS. D'AGOSTINO:       Okay.

   6

   7             EXAMINATION BY MS. D'AGOSTINO:

   8

   9             Q.   When opposing counsel was questioning

  10   you, you said that you didn't believe Mr. Powell

  11   was trying to run.        Do you remember testifying to

  12   that?

  13             A.   I do, yeah.

  14             Q.   Is flight a prerequisite for you to use

  15   force?

  16             A.   Yes.

  17             Q.   Is flight a prerequisite for you to use

  18   force?

  19             A.   Like, when can we use force to --

  20             Q.   Yeah.     In order for you to use force,

  21   does someone have to flee from you or are there

  22   other circumstances where you can use force?

  23             A.   Oh.     There's other circumstances.


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   1   Sorry.

   2            Q.    Okay.     And then do you recall being

   3   asked about whether Mr. Powell was kicking or

   4   hitting at the officers?

   5            A.    Yes.

   6            Q.    Is that type of behavior a prerequisite

   7   for you using force?

   8            A.    If we're being kicked at, yeah, we

   9   would use force.

  10            Q.    Okay.     But does someone that you're

  11   trying to arrest -- do they have to be attempting

  12   to assault you in order for you for use force?

  13            A.    No.     There's other -- other --

  14            Q.    Okay.     What type of resistance would

  15   you say that -- when you were trying to take

  16   Mr. Powell into custody, what type of resistance

  17   was he exhibiting?

  18            A.    I would say, like, defensive

  19   resistance.     He was pulling away.           He was tensing

  20   up.   He -- yeah.       He was verbally noncompliant.

  21            Q.    So in terms of his level of resistance,

  22   is it something beyond passive resistance that he

  23   was displaying?


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   1            A.    Yeah.     I believe so.        Because he's --

   2   he's pulling away at that point in time, not

   3   allowing us to take him into custody.

   4            Q.    Okay.     And you indicated that you

   5   didn't recall whether, after he was searched,

   6   whether he had any weapons on him.               Do you remember

   7   testifying about that?

   8            A.    Yes.

   9            Q.    But at the time you were trying to take

  10   him into custody, did you know for certain that he

  11   did not have weapons on him?

  12            A.    We had no idea if he had anything on

  13   him at that point in time.

  14            Q.    And were you the officer that placed

  15   handcuffs on him?

  16            A.    No.     Officer Obergfell did.

  17            Q.    Okay.     And if you had any indication

  18   that another officer placed handcuffs on him that

  19   were too tight, would you have loosened them for

  20   Mr. Powell?

  21            A.    Yes.     I would have intervened at that

  22   point.

  23            Q.    Okay.     When handcuffs are placed on an


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   1   arrestee, is it possible for them to become tighter

   2   just by the arrestee's own movements?

   3             A.   Yeah.     If the arrestee's really pulling

   4   away and not allowing us to, you know, carefully

   5   handcuff him, naturally, the handcuffs are going to

   6   continue to tighten until we're able to calm them

   7   down.     And there's a lock on the cuffs that stop --

   8   stop them from tightening any further.

   9             Q.   Okay.     Did you use any force on him

  10   after you felt that Mr. Powell was no longer a

  11   threat?

  12             A.   Like, after we stood him up?

  13             Q.   Correct.

  14             A.   After we stood him up, no.

  15             Q.   And at any point during that evening or

  16   the early-morning hours, did you use hand strikes

  17   on him?

  18             A.   No.

  19             Q.   Did you use knee strikes on him?

  20             A.   No.

  21             Q.   Did you use any less-than-lethal

  22   tactics on him?

  23             A.   No.


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   1           Q.     Did you observe any of your fellow

   2   officers use hand strikes?

   3           A.     No.

   4           Q.     Did you observe any of your fellow

   5   officers use knee strikes?

   6           A.     No.

   7           Q.     Did you observe any of your fellow

   8   officers use less-than-lethal tactics on him?

   9           A.     No.

  10           Q.     And you indicated that you were the

  11   officer that called EMS, correct?

  12           A.     Yes.

  13           Q.     And again, why did you call EMS?

  14           A.     Officer Obergfell stated that he was

  15   bleeding, so I wanted to get him evaluated

  16   immediately.

  17           Q.     Did you cause -- did you have any

  18   reason to believe that you, during your use of

  19   force, caused that bleeding on Mr. Powell?

  20           A.     No.

  21           Q.     What did you understand caused that

  22   bleeding?

  23           A.     Mr. Powell striking his head into the


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   1   ground.

   2             Q.   And when you and your fellow officers

   3   took him to the ground, did you have any indication

   4   or belief that he was going to start banging his

   5   head on the ground?

   6             A.   No.

   7             Q.   Were you involved in his transportation

   8   to the jail after he was placed in the back of the

   9   vehicle?

  10             A.   No.     Officer Obergfell was.

  11             Q.   Okay.     And when you arrived at the

  12   facility, were you involved in removing him from

  13   the vehicle?

  14             A.   No.

  15             Q.   Okay.     Were you present when EMS

  16   responded to the jail?

  17             A.   Yes.

  18             Q.   And do you recall Mr. Powell's

  19   interactions with EMS?

  20             A.   He was hostile with them.             He wasn't

  21   initially letting them check on him.

  22             Q.   Are you a medical health professional?

  23             A.   No.


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   1           Q.     Are you a mental health professional?

   2           A.     No.

   3           Q.     Does EMS have any say in terms of

   4   whether an individual is transported for mental

   5   health evaluation?

   6           A.     Typically, it's just going to be if

   7   there's a medical reason.

   8           Q.     So if EMS felt that he needed to be

   9   evaluated, would he have been taken to the

  10   hospital?

  11           A.     Yes.

  12           Q.     And do you recall at what point you

  13   completed the 9.41?

  14           A.     As we completed all of the paperwork, I

  15   advised the jailer that he was going to be a 9.41.

  16   So he knew that the paper would be coming back, but

  17   we just completed all the paperwork together

  18   following the arrest.

  19           Q.     And did you complete the 9.41 because

  20   you were concerned about his behavior?

  21           A.     Yes.

  22           Q.     And were you disciplined as a result of

  23   this incident?


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   1           A.     No.

   2           MS. D'AGOSTINO:        I don't have any further

   3   questions.

   4           MR. ZACCAGNINO:        I don't have anything

   5   further.

   6           (Deposition concluded at 2:17 p.m.)

   7

   8

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                                                                           78



   1                            ERRATA SHEET

   2

   3   PAGE        LINE

   4                                CHANGE:

   5                                REASON:

   6                                CHANGE:

   7                                REASON:

   8                                CHANGE:

   9                                REASON:

  10                                CHANGE:

  11                                REASON:

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  16                                CHANGE:

  17                                REASON:

  18                                CHANGE:

  19                                REASON:

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   1          I hereby CERTIFY that I have read the

   2   foregoing 77 pages, and that they are a true and

   3   accurate transcript of the testimony given by me in

   4   the above entitled action on August 16, 2023.

   5

   6

   7                                   -----------------------
                                        Kevin Wise
   8

   9   Sworn to before me this

  10

  11   -------- day of       ---------, 2023.

  12

  13   --------------------------

  14   NOTARY PUBLIC.

  15

  16

  17

  18

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  20

  21

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   1   STATE OF NEW YORK)

   2                           ss:

   3   COUNTY OF ERIE)

   4

   5          I DO HEREBY CERTIFY as a Notary Public in and

   6   for the State of New York, that I did attend and

   7   report the foregoing deposition, which was taken

   8   down by me in a verbatim manner by means of machine

   9   shorthand.     Further, that the deposition was then

  10   reduced to writing in my presence and under my

  11   direction.     That the deposition was taken to be

  12   used in the foregoing entitled action.                  That the

  13   said deponent, before examination, was duly sworn

  14   to testify to the truth, the whole truth and

  15   nothing but the truth, relative to said action.

  16

  17

  18
                                     --------------------------
  19                                 PATRICK MCLAUGHLIN,
                                     Notary Public.
  20

  21

  22

  23


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            0                                          53:9                        57:20, 58:2, 58:20,        56:14, 57:5, 58:9,
                                       7
                                                      advise [3] - 10:8,           58:23, 59:12, 60:4,        58:21, 59:13, 62:2,
00721 [1] - 65:10          7 [1] - 66:9                22:11                       60:17, 63:13, 71:5,        63:2
0253 [1] - 65:7            7:00 [1] - 61:19           advised [11] - 38:22,        76:12                     based [11] - 11:7,
                                                       39:17, 39:18, 39:19,       arrested [1] - 49:5         13:6, 15:18, 16:17,
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